Case 18-01023        Doc 23    Filed 07/20/18        Entered 07/20/18 17:03:11   Page 1 of 13



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

IN RE:

MICHAEL ALLEN WORLEY                                         CASE NO. 18-10017

         Debtor                                              CHAPTER 11



MICHAEL ALLEN WORLEY

                                                             ADVERSARY NO. 18-01023
         Plaintiff

versus                                                       JUDGE DOUGLAS D. DODD

WORLEY CLAIMS SERVICES, LLC

         Defendant


                              ANSWER AND DEFENSES
         NOW COMES Defendant Worley Claims Services, LLC (“WCS”) and responds to the

Complaint for Breach of Contract, Damages, Injunctive Relief, and for Other Appropriate Relief

filed by Michael A. Worley (“Worley”) as follows:

                                                I.

                                        DEFENSES

         WCS asserts the following affirmative and other defenses, but does not assume any

burden of production or proof unless required by law:




                                         Page 1 of 13
Case 18-01023         Doc 23   Filed 07/20/18     Entered 07/20/18 17:03:11       Page 2 of 13



                                                 1.

        No Distributions or Benefit Payments Owed to Worley due to Cause Events

       In the Separation Agreement, Worley agreed that WCS would be entitled to cease making

distribution and benefit payments to him in the event of any act by him that would have given

WCS Good Cause to terminate his Second Amended and Restated Employment Agreement

(“Employment Agreement”) pursuant to subsections (2), (3), or (4) of section 4(c) of the

Employment Agreement, which included:

       (2) dishonesty, fraud or misrepresentation which was intended to result in gain or
       personal enrichment for [Worley] at the expense of the [WCS]; (3) [Worley’s]
       commission of any act that is reasonably likely to lead to indictment, conviction
       of, or a plea of nolo contendere or guilty to a felony; or (4) the engaging by
       [Worley] in conduct which is demonstrably and materially injurious to [WCS],
       monetarily or otherwise…

                                                 2.

       WCS was entitled to immediately cease making distribution and benefits payments to

Worley because he engaged in a check kiting scheme that led to an FBI investigation into his

actions that WCS understands is ongoing. WCS has had to devote substantial time, money, and

human resources to respond to the FBI’s subpoena and to otherwise cooperate with its

investigation and has lost business opportunities by virtue of the requirement to disclose any

criminal investigations of current or former principals of the company in response to requests for

proposals for work.

                                                 3.

       WCS was entitled to immediately cease making distribution and benefit payments to

Worley because he engaged in an ultra vires and self-interested lease transaction in which he

effectively extended a WCS lease that was scheduled to expire by its terms on December 19,


                                          Page 2 of 13
Case 18-01023        Doc 23    Filed 07/20/18     Entered 07/20/18 17:03:11      Page 3 of 13



2017 until September 30, 2030. Worley’s conduct in connection with the lease transaction was

dishonest and fraudulent and was demonstrably and materially injurious to WCS.

                         No Distribution or Benefit Payments
                Owed to Worley Due to Breach of the Restrictive Covenants

                                                 4.

       In the Separation Agreement, Worley agreed that WCS would be entitled to cease making

distribution and benefit payments to him upon any breach by him of the Restrictive Covenants in

his Employment Agreement or the Purchase, Sale and Contribution Agreement by and among

WCS, Worley, Advantage Capital Community Development Fund, L.L.C., SCP Worley

Holdings, L.L.C., Aquiline Worley Purchaser LLC and Aquiline Worley Parent LLC dated

October 6, 2014 (“Purchase Agreement”).

                                                 5.

       Worley breached the Restrictive Covenants in the Employment Agreement and Purchase

Agreement by providing consulting services on the Restore Louisiana project for which he was

compensated approximately $15,000. Because of Worley’s conduct, WCS was relieved of the

obligation to continue making distribution and benefit payments to him.

                      No Breach of the Separation Agreement by WCS

                                                 6.

       WCS has not breached, or failed to perform, any obligation in the Separation Agreement.

                  No Obligations or Breach of the Employment Agreement

                                                 7.

       WCS has no continuing obligations to Worley under the Employment Agreement. Thus,

it could not have and did not breach that agreement, as alleged.


                                           Page 3 of 13
Case 18-01023        Doc 23    Filed 07/20/18     Entered 07/20/18 17:03:11        Page 4 of 13



                                   Cause and Consideration

                                                 8.

       Worley had cause to enter into the Separation Agreement and that cause did not fail by

virtue of any Cause Event occurring within the meaning of the Separation Agreement.

                                                 9.

       Worley has no legal right or factual basis to invalidate the Restrictive Covenants in the

Employment Agreement or Purchase Agreement for failure of consideration.

                                                 10.

       Worley had cause to enter into the Employment Agreement and Purchase Agreement and

received consideration pursuant to both of those agreements.

                 No Entitlement to Mandatory Preliminary Injunctive Relief

                                                 11.

       The preliminary injunctive relief Worley seeks is mandatory in nature because he seeks

to change the status quo, not to preserve it. Worley cannot meet his burden to prove that he is

clearly entitled to the mandatory preliminary injunctive relief sought because he cannot

demonstrate that: (1) he is likely to succeed on the merits of his claim; (2) he will suffer

irreparable harm if the requested injunction does not issue; (3) the harm he alleges he will suffer

if the requested injunction does not issue warrants depriving WCS of the benefit for which it

bargained; or (4) denying the injunction would disserve the public interest.

                           Dissolution Not an Appropriate Remedy

                                                 12.

       Dissolution of the Separation Agreement is not an appropriate remedy in the event of a

breach (which WCS denies) because WCS has already performed under the agreement and acted

                                           Page 4 of 13
Case 18-01023        Doc 23    Filed 07/20/18     Entered 07/20/18 17:03:11        Page 5 of 13



in good faith and because dissolving the agreement would allow Worley to benefit from his own

misconduct by escaping the obligations he undertook.

                       No Entitlement to Tax Distributions from WCS

                                                 13.

       Worley sold all of his membership interest in WCS in 2014. Consequently, WCS had no

obligation to make any tax distributions to him in 2016 or 2017, as alleged.

                                                 14.

       Worley is not entitled to any distributions, benefits, or loan forgiveness pursuant to the

Employment Agreement, as alleged.

                               Accord, Satisfaction, and Release

                                                 15.

       Worley is not entitled to the tax distributions he seeks to the extent he released his right

to those distributions in the Separation Agreement.

                                 Estoppel and Unclean Hands

                                                 16.

       Worley has unclean hands and should be estopped from being awarded the injunctive

relief, declaratory relief, and damages he seeks because he has breached the Restrictive

Covenants; engaged in conduct that is reasonably likely to lead to his indictment or criminal

plea, as evidenced by his recent request for approval to engage criminal counsel to represent him;

engaged in dishonest and fraudulent conduct; engaged in conduct that is demonstrably and

materially injurious to WCS; and to the extent he has breached the Covenant Not to Sue in the

Separation Agreement by suing to seek tax distributions in violation of the terms of his Release

of Claims.

                                          Page 5 of 13
Case 18-01023          Doc 23     Filed 07/20/18    Entered 07/20/18 17:03:11   Page 6 of 13



                                Failure to Mitigate Alleged Damages

                                                   17.

       Worley’s alleged damages must be reduced to the extent he failed to mitigate them by

seeking employment not prohibited by the Restrictive Covenants in the Employment Agreement

and Purchase Agreement.

                                  Indemnity and Attorneys’ Fees

                                                   18.

       Worley is obligated to indemnify WCS and pay its attorneys’ fees and costs incurred in

defending against his claim for tax distributions to the extent he released those claims in the

Separation Agreement.

                                  Offset, Setoff and Recoupment

                                                   19.

       WCS affirmatively pleads the defenses of offset, setoff and/or recoupment to the extent

they are applicable.

                                       Additional Defenses

                                                   20.

       WCS hereby gives notice that it intends to rely upon any other defense that may become

available or appear during discovery proceedings in this case and hereby reserves the right to

amend this Answer to assert any such defense.




                                           Page 6 of 13
Case 18-01023        Doc 23     Filed 07/20/18    Entered 07/20/18 17:03:11       Page 7 of 13



                                               II.

                                          ANSWER

         AND NOW in response to the specific allegations in the Complaint, WCS avers:

                                                 1.

         WCS admits the allegations contained in Paragraph 1 of the Complaint.

                                                 2.

         WCS denies the allegations contained in Paragraph 2 of the Complaint as written, but

admits the bankruptcy court has jurisdiction over this dispute and confirms pursuant to Fed. R.

Bankr. P. 7012(b) that it consents to the entry of final orders or judgment by the bankruptcy

court.

                                                 3.

         WCS denies the allegations contained in Paragraph 3 of the Complaint for lack of

sufficient information to justify a belief in them, except to admit that Worley’s father founded

WCS; Worley worked for WCS; and WCS is engaged in the catastrophic claims management

business.

                                                 4.

         WCS denies the allegations contained in Paragraph 4 of the Complaint for lack of

sufficient information to justify a belief in them, except to admit that Seaport Capital Partners

purchased a membership interest in WCS in 2008; Worley and his father received proceeds from

the sale; Worley’s father retired from WCS; and Worley remained employed by WCS and held a

49% membership interest in WCS after the sale to Seaport.




                                          Page 7 of 13
Case 18-01023         Doc 23     Filed 07/20/18        Entered 07/20/18 17:03:11   Page 8 of 13



                                                      5.

       WCS denies the allegations contained in Paragraph 5 of the Complaint as written, but

admits that WCS worked on the BP Oil Spill.

                                                      6.

       WCS denies the allegations in Paragraph 6 of the Complaint as written and for lack of

sufficient information to justify a belief in them, except to admit that WCS, Worley, Advantage

Capital Community Development Fund, L.L.C., SCP Worley Holdings, L.L.C., Aquiline Worley

Purchaser LLC and Aquiline Worley Parent LLC entered into the Purchase Agreement, which

speaks for itself and is the best evidence of its content.

                                                      7.

       WCS denies the allegations in Paragraph 7 as written, but admits that WCS employed

Worley as CEO and Chairman of its Board pursuant to an Amended and Restated Employment

Agreement dated October 14, 2014, which speaks for itself and is the best evidence of its

content, and that WCS employed Worley as Chairman of its Board pursuant to the Employment

Agreement, which speaks for itself and is the best evidence of its content.

                                                      8.

       WCS denies the allegations contained in Paragraph 8 of the Complaint.

                                                      9.

       WCS denies the allegations contained in Paragraph 9 of the Complaint for lack of

sufficient information to justify a belief in them.

                                                      10.

       WCS denies the allegations contained in Paragraph 10 of the Complaint, except to admit

that it entered into the Separation Agreement with Worley on May 22, 2017, which speaks for

                                             Page 8 of 13
Case 18-01023        Doc 23     Filed 07/20/18      Entered 07/20/18 17:03:11         Page 9 of 13



itself and is the best evidence of its content; that the agreement contains a confidentiality

provision; and that WCS was relieved of the obligation to continue making distributions and

providing benefits and forgiving a loan to Worley because Cause Events occurred within the

meaning of the agreement and because Worley violated the Restrictive Covenants in the

agreement.

                                                  11.

       WCS denies the allegations contained in Paragraph 11 of the Complaint.

                                                  12.

       WCS denies the allegations contained in Paragraph 12 of the Complaint for lack of

knowledge or information sufficient to justify a belief in the truth of the matters asserted.

                                                  13.

       WCS denies the allegations contained in Paragraph 13 of the Complaint, except to admit

that it received a subpoena from the FBI and it made a return on the subpoena and cooperated

with the FBI’s investigation.

                                                  14.

       WCS denies the allegations contained in Paragraph 14 of the Complaint.

                                                  15.

       WCS denies the allegations contained in Paragraph 15 of the Complaint.

                                                  16.

       WCS denies the allegations contained in Paragraph 16 of the Complaint as written, but

admits that some management team members and catastrophic claims managers who were

employed when Worley worked for WCS have been terminated from their employment or have

resigned.

                                            Page 9 of 13
Case 18-01023       Doc 23      Filed 07/20/18     Entered 07/20/18 17:03:11         Page 10 of 13



                                                  17.

       WCS denies the allegations contained in Paragraph 17 of the Complaint for lack of

knowledge or information sufficient to justify a belief in the truth of the matters asserted.

                                                  18.

       WCS denies the allegations contained in Paragraph 18 of the Complaint for lack of

knowledge or information sufficient to justify a belief in the truth of the matters asserted.

                                                  19.

       WCS admits that Worley would be in violation of the non-compete provision of the

Employment Agreement, as made applicable to him by the Separation Agreement, if he were to

work in the claims management business in the territory specified in that agreement. WCS

denies the remaining allegations contained in Paragraph 19 of the Complaint for lack of

knowledge or information sufficient to justify a belief in the truth of the matters asserted, except

to admit that Worley filed for relief under Chapter 11 of the U.S. Bankruptcy Code on January 8,

2018 and that the Court ordered that a Chapter 11 trustee be appointed, without objection by

Worley. Further answering, the record in the bankruptcy proceedings, of which the Court may

take judicial notice, speaks for itself and is the best evidence of its content and of Worley’s

actions in the proceedings.

                                                  20.

       WCS denies the allegations contained in Paragraph 20 of the Complaint, except to admit

that Worley has demanded benefits and payments.

                                                  21.

       WCS denies the allegations contained in Paragraph 21 of the Complaint.



                                           Page 10 of 13
Case 18-01023       Doc 23     Filed 07/20/18    Entered 07/20/18 17:03:11      Page 11 of 13



                                                 22.

       WCS denies the allegations contained in Paragraph 22 of the Complaint.

                                                 23.

       WCS denies the allegations contained in Paragraph 23 of the Complaint, except to admit

that Worley still has not collected all of his personal property located at WCS’s premises,

although WCS has invited him to do so.

                                                 24.

       WCS denies the allegations contained in Paragraph 24 of the Complaint.

                                                 25.

       WCS denies the allegations contained in Paragraph 25 of the Complaint.

                                                 26.

       WCS denies the allegations contained in Paragraph 26 of the Complaint.

                                                 27.

       WCS denies the allegations contained in Paragraph 27 of the Complaint, except to admit

that Rule 65(c) of the Federal Rules of Civil Procedure and Federal Rule of Bankruptcy

Procedure 7065 pertain to the issuance of bonds in injunction proceedings. Those rules speak for

themselves and are the best evidence of their content.

                                                 28.

       WCS denies the allegations contained in Paragraph 28 of the Complaint, except to admit

that Worley’s counsel faxed it a copy of the Motion for Preliminary Injunction and supporting

memorandum.

                                                 29.

       WCS denies the allegations contained in the Prayer of Worley’s Complaint.

                                          Page 11 of 13
Case 18-01023       Doc 23    Filed 07/20/18     Entered 07/20/18 17:03:11        Page 12 of 13




                                                 30.

       WCS denies all allegations contained in any unnumbered paragraphs of Worley’s

Complaint.



       WHEREFORE, WCS prays that this Answer and Defenses be deemed good and

sufficient and that after due proceedings are had that Worley’s claims against WCS be dismissed,

with prejudice, at Worley’s sole cost, and for such other equitable relief as the Court deems just

and proper.

                                             Respectfully submitted:

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                                             AND




                                          Page 12 of 13
Case 18-01023       Doc 23      Filed 07/20/18   Entered 07/20/18 17:03:11     Page 13 of 13



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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing motion has been served upon all persons or

entities receiving notice via the court’s CM/ECF electronic filing system, including, but not

limited to, the following:

Court Electronic notification

      Scott Holland Crawford, counsel for plaintiff, Michael Allen Worley,
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      Arthur A. Vingiello, counsel for plaintiff, Michael Allen
       Worley, avingiello@steffeslaw.com


                                                   /s/ John M. Duck
                                                   John M. Duck




                                         Page 13 of 13
